                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:13CR86

UNITED STATES OF AMERICA     )
                             )
     v                       )                                          ORDER
                             )
JEFFREY LAWSHAW MADDOX a/k/a )
LITTLE J                     )
                             )


       Leave of Court is hereby granted for the dismissal without prejudice of the Bill of

Indictment in the above-captioned matter as to Jeffrey Lawshaw Maddox a/k/a Little J.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, and the United States Attorney’s Office.




                                      Signed: February 20, 2014




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